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 8
                                UNITED STATES DISTRICT COURT
 9                                   DISTRICT OF NEVADA
10
      KIRBY SPENCER, individually and on be-           No. 2:14-CV-01646-RFB-CWH
11    half of all others similarly situated,
                                                       FIRST AMENDED COMPLAINT FOR
12                                                     DAMAGES FOR VIOLATION OF THE
                            Plaintiff,
13                                                     TELEPHONE CONSUMER PROTEC-
                                                       TION ACT, 47 U.S.C. § 227 ET. SEQ.
             vs.
14

15    KOHL’S DEPARTMENT STORES, INC., a                Hon. Richard F. Boulware, II
      foreign corporation doing business in Nevada,
16                                                     Magistrate Judge Carl W. Hoffman

17                          Defendant.
                                                       JURY TRIAL DEMANDED
18

19
                         FIRST AMENDED CLASS ACTION COMPLAINT
20
            Plaintiff Kirby Spencer brings this first amended complaint against Kohl’s Department
21
     Stores (“Defendant” or “Kohl’s”) to stop Defendant’s unlawful debt collection practices in the
22
     form of unauthorized telephone calls using an automatic telephone dialing system (“ATDS”),
23
     and to obtain redress for all persons injured by its conduct. Plaintiff alleges as follows upon
24
     personal knowledge as to himself and his own acts and experiences and, as to all other matters,
25
     upon information and belief including investigation conducted by his attorneys.
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27



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 1                                     NATURE OF THE ACTION

 2            1.    In an effort to increase its recovery on delinquent accounts, Defendant, a

 3   nationwide retailer, violated federal law by making unauthorized automated telephone calls using

 4   an ATDS (“robocalls”) to the cellular telephones of individuals throughout the nation.

 5            2.    By effectuating these unsolicited robocalls, Defendant has violated the called

 6   parties’ statutory rights and has caused the call recipients actual harm, not only because the

 7   called parties were subjected to the aggravation that necessarily accompanies unsolicited calls,

 8   but also because the recipients sometimes have to pay their cellular phone providers for receiving

 9   the calls or incur a usage deduction on their plan.

10            3.    In order to redress these injuries, Plaintiff, on behalf of himself and a nationwide

11   class, brings suit under the Telephone Consumer Protection Act, 47 U.S.C. § 227 (the “TCPA”),

12   which protects the privacy right of consumers to be free from receiving unsolicited automated

13   telephone calls.

14            4.    On behalf of the class, Plaintiff seeks an injunction requiring Defendant to cease

15   all unauthorized automated telephone calls and an award of statutory damages to the members of

16   the class, together with costs and attorneys’ fees.

17                                    JURISDICTION AND VENUE

18            5.    This Court has federal question subject matter jurisdiction under 28 U.S.C.

19   § 1331, as the action arises under the federal Telephone Consumer Protection Act, 47 U.S.C.

20   § 227.

21            6.    Venue is proper in the District of Nevada under 28 U.S.C. §1391(b) because

22   Plaintiff resides in this District and because a substantial part of the events concerning the

23   unsolicited robocalls at issue occurred in this District, as Plaintiff received Defendant’s

24   unsolicited robocalls within this District.

25            7.    This Court has personal jurisdiction over the Defendant under Nev. Rev. Stat.

26   § 14.065 because the acts alleged occurred in Nevada and Defendant conducts business within

27   Nevada.



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 1                                                 PARTIES

 2          8.        Plaintiff is domiciled in the State of Nevada.

 3          9.        Defendant Kohl’s is a nationwide retailer. It is a Delaware corporation with its

 4   principal place of business located in Wisconsin. Defendant conducts business in this District,

 5   and conducts business elsewhere throughout the United States.

 6                                COMMON ALLEGATIONS OF FACT

 7          10.       Defendant is a nationwide retailer that operates department stores across the

 8   country.

 9          11.       As an ordinary business practice, Defendant obtains the telephone numbers of its

10   customers which are then used as part of its automated-calling debt collection operation if the

11   customer’s account becomes delinquent.

12          12.       In an effort to increase recovery and reduce costs associated with operating its

13   automated-calling debt collection operation, Defendant does not utilize any procedures necessary

14   to confirm that the telephone numbers to which Defendant makes robocalls actually belong to the

15   debtors who allegedly provided them prior to Defendant making such robocalls.

16          13.       As a consequence, many of the telephone numbers Defendant receives in

17   connection with its debt collection operation are inaccurate, or have become inaccurate, and

18   result in Defendant routinely placing automated telephone calls to individuals who never

19   provided consent to be called by Defendant.

20          14.       In addition to being an aggravating invasion of privacy, unsolicited automated

21   telephone calls can actually cost recipients money because called parties such as Plaintiff must

22   frequently pay for the calls they receive or incur a usage deduction, regardless of whether the call

23   is authorized.

24          15.       For instance, beginning in or about June 2014, in an apparent effort to collect on a

25   debt that did not belong to Plaintiff, Defendant began calling Plaintiff’s cellular telephone.

26          16.       Since receiving that initial phone call in or about June 2014, Plaintiff has

27   repeatedly had his privacy invaded by Defendant, receiving the same or similar telephone calls



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 1   on his cellular telephone over 100 times from June 2014 through July 2014. (See Exhibit 1.)

 2          17.     At no time did Plaintiff provide Defendant with consent to place any telephone

 3   calls, including any calls made through an ATDS, to his cellular telephone number.

 4                                 CLASS ACTION ALLEGATIONS

 5          18.     Plaintiff brings this action on behalf of himself and a national class (the “Class”)

 6   defined as follows:

 7          All persons in the United States and its territories who received one or more unauthorized

 8          telephone calls on their cellular telephone from Defendant through an automated

 9          telephone dialing system where the called party was not the same individual who,

10          according to Defendant’s records, provided the phone number.

11          19.     Plaintiff will fairly and adequately represent and protect the interests of the other

12   members of the Class. Plaintiff has retained counsel with substantial experience in prosecuting

13   complex litigation and class actions. Plaintiff and his counsel are committed to vigorously

14   prosecuting this action on behalf of the other members of the Class, and have the financial

15   resources to do so. Neither Plaintiff nor his counsel has any interest adverse to those of the other

16   members of the Class.

17          20.     Absent a class action, most members of the Class would find the cost of litigating

18   their claims to be prohibitive and would have no effective remedy. The class treatment of

19   common questions of law and fact is superior to multiple individual actions or piecemeal

20   litigation in that it conserves the resources of the courts and the litigants, and promotes

21   consistency and efficiency of adjudication.

22          21.     Defendant has acted and failed to act on grounds generally applicable to the

23   Plaintiff and the other members of the Class, requiring the Court’s imposition of uniform relief to

24   ensure compatible standards of conduct toward the members of the Class, and making injunctive

25   or corresponding declaratory relief appropriate for the Class as a whole.

26          22.     The factual and legal bases of Defendant’s liability to Plaintiff and to the other

27   members of the Class are the same, resulting in injury to the Plaintiff and to all of the other



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 1   members of the Class. Plaintiff and the other members of the Class have all suffered harm and

 2   damages as a result of Defendant’s unlawful and wrongful conduct.

 3             23.    Upon information and belief, the Class contains hundreds, if not thousands, of

 4   members such that joinder of all members is impracticable.

 5             24.    There are many questions of law and fact common to the claims of Plaintiff and

 6   the other members of the Class, and those questions predominate over any questions that may

 7   affect individual members of the Class. Common questions for the Class include, but are not

 8   limited to, the following:

 9                    (a)    Did Defendant place calls using an automatic telephone dialing system?

10                    (b)    Did Defendant place calls using an automatic telephone dialing system to

11             persons who did not previously provide Defendant with consent to receive such calls on

12             their respective cellular telephone numbers?

13                    (c)    Did the unauthorized calls made by Defendant violate the TCPA?

14                    (d)    Was Defendant’s conduct in violation of the TCPA willful such that the

15             members of the Class are entitled to treble damages?

16                    (e)    Should Defendant be enjoined from continuing to engage in such conduct?

17                                              COUNT I
                     Violation of Telephone Consumer Protection Act (47 U.S.C. § 227)
18                                         on behalf of the Class
19             25.    Plaintiff incorporates by reference the foregoing allegations as if fully set forth
20   herein.
21             26.    Defendant made unsolicited telephone calls without prior express consent using
22   an automatic telephone dialing system to the cellular telephone numbers of Plaintiff and the other
23   members of the Class. Each such automated call was made using equipment that had the
24   capacity at the time the calls were placed to store or produce telephone numbers to be called
25   using a random or sequential number generator and to dial such numbers.
26             27.    Defendant’s conduct violated the TCPA, 47 U.S.C. §227(b)(1)(A)(iii).
27



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 1          28.     As a result of Defendant’s illegal conduct, the members of the Class have had

 2   their privacy rights violated, have suffered statutory and actual damages, and, under 47 U.S.C.

 3   §227(b)(3)(B), are each entitled, inter alia, to a minimum of $500.00 in damages for each such

 4   violation of the TCPA.

 5                                       REQUEST FOR RELIEF

 6          Plaintiff, on behalf of himself and the Class, requests the following relief:

 7          A.      An order certifying the Class as defined above;

 8          B.      An award of statutory damages;

 9          C.      An injunction requiring Defendant to cease all unauthorized automated telephone

10                  activities;

11          D.      An award of reasonable attorneys’ fees and expenses of litigation; and

12          E.      Such further and other relief as the Court deems just or equitable.

13                                            JURY DEMAND

14          Plaintiff requests trial by jury of all claims that can be so tried.

15                                                          Respectfully submitted,
16
     DATED: October 13, 2015                                CRAIG K. PERRY & ASSOCIATES
17
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26                                                          and the Putative Class
27



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